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                                  UNITED STATES DISTRICT COURT
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                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
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         STATE OF WASHINGTON,                                CASE NO. C17-5806 RJB
11
                                      Plaintiff,             ORDER DENYING DEFENDANT’S
12               v.                                          MOTION FOR LIMITED
                                                             PROTECTIVE ORDER
13       THE GEO GROUP, INC.,                                REGARDING DEPOSTION OF
                                                             RYAN KIMBLE
14                                    Defendant.

15

16           This matter comes before the court on the above-referenced motion (Dkt. 190). The court

17   has reviewed all documents filed in support of and in opposition to the motion and is familiar

18   with the contents of the file.

19           The defendant asks the court to enter an order preventing the plaintiff from seeking

20   certain financial testimony at deposition from Ryan Kimble pending the resolution of GEO’s

21   pending Writ of Mandamus action in the Ninth Circuit Court of Appeals.

22           Because of the Ninth Circuit Court of Appeals’ scheduling, the request for an order

23   delaying discovery pending resolution of the Mandamus action is tantamount to requesting a

24   delay in the scheduling set by this court. It would effectively amount to a stay of the whole case.

     ORDER DENYING DEFENDANT’S MOTION FOR LIMITED PROTECTIVE ORDER REGARDING
     DEPOSTION OF RYAN KIMBLE - 1
 1   This court will comply with any orders of the Ninth Circuit Court of Appeals, but a Petition filed

 2   there should not control scheduling here.

 3          Under Federal Rule of Civil Procedure 26(c)(1), “the court may, for good cause, issue an

 4   order to protect a party or person from annoyance, embarrassment, oppression or undue burden

 5   or expense . . . .” It is difficult to see from the documents filed how disclosure of financial

 6   information by a publicly-traded company would cause that company serious harm, beyond,

 7   perhaps, some annoyance and, perhaps, embarrassment. Nevertheless, restrictions on the use and

 8   dissemination of any information learned at Mr. Kimble’s deposition can be protected under one

 9   or more of the alternatives listed in Federal Rule of Civil Procedure 26(c) (1). Commonly, such

10   an order would limit access to, and use of, the results of the deposition to counsel and to expert

11   witnesses working on the subject of the financial material that the defendant wishes to protect.

12   The court would entertain a stipulation to that effect, or an appropriate motion.

13          In their filings in regard to this motion, the parties have raised or referred to a number of

14   side issues. The court declines to make any rulings beyond disposition of the motion.

15          Therefore, it is now

16          ORDERED that Defendant’s Motion for Limited Protective Order Regarding Deposition

17   of Ryan Kimble (Dkt. 190) is hereby DENIED.

18          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

19   to any party appearing pro se at said party’s last known address.

20          Dated this 13th day of May, 2019.

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22
                                            A
                                            ROBERT J. BRYAN
                                            United States District Judge
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     ORDER DENYING DEFENDANT’S MOTION FOR LIMITED PROTECTIVE ORDER REGARDING
     DEPOSTION OF RYAN KIMBLE - 2
